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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO
SKYTEC, INC.,
                                          Plaintiff,       No. 15-cv-02104(BJM)
             v.                                            CORPORATE DISCLOSURE
                                                           STATEMENT PURSUANT TO
LOGISTICS SYSTEMS, INC.,                                   FEDERAL RULE OF CIVIL
                                                           PROCEDURE 7.1
                                       Defendant.


TO THE HONORABLE COURT:
             Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned, counsel of record for

Defendant Logistics Systems, Inc., Defendant, discloses that no corporation owns 10% or more
of Logistics Systems, Inc.
             Dated this 10th day of December, 2015.
                                                   S/ CARLOS A. RODRIGUEZ VIDAL
                                                   USDC-PR No. 201213
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